               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



DEMOCRACY NORTH CAROLINA,           )
THE LEAGUE OF WOMEN VOTERS          )
OF NORTH CAROLINA,                  )
DONNA PERMAR, JOHN P. CLARK,        )
MARGARET B. CATES,                  )
LELIA BENTLEY, REGINA WHITNEY       )
EDWARDS, ROBERT K. PRIDDY II,       )
SUSAN SCHAFFER, and                 )
WALTER HUTCHINS,                    )
                                    )
               Plaintiffs,          )
                                    )
    v.                              )             1:20CV457
                                    )
THE NORTH CAROLINA STATE            )
BOARD OF ELECTIONS,                 )
DAMON CIRCOSTA, in his              )
official capacity as CHAIR          )
OF THE STATE BOARD OF               )
ELECTIONS, STELLA ANDERSON,         )
in her official capacity as         )
SECRETARY OF THE STATE              )
BOARD OF ELECTIONS,                 )
KEN RAYMOND, in his official        )
capacity as MEMBER OF THE           )
STATE BOARD OF ELECTIONS,           )
JEFF CARMON III, in his             )
official capacity as MEMBER         )
OF THE STATE BOARD OF               )
ELECTIONS, DAVID C. BLACK,          )
in his official capacity as         )
MEMBER OF THE STATE BOARD           )
OF ELECTIONS, KAREN BRINSON         )
BELL, in her official               )
capacity as EXECUTIVE               )
DIRECTOR OF THE STATE BOARD         )
OF ELECTIONS, THE NORTH             )
CAROLINA DEPARTMENT OF              )




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TRANSPORTATION, J. ERIC             )
BOYETTE, in his official            )
capacity as TRANSPORTATION          )
SECRETARY, THE NORTH                )
CAROLINA DEPARTMENT OF              )
HEALTH AND HUMAN SERVICES,          )
and MANDY COHEN, in her             )
official capacity as                )
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
               Defendants.          )
                                    )
    and                             )
                                    )
PHILIP E. BERGER, in his            )
official capacity as                )
PRESIDENT PRO TEMPORE OF THE        )
NORTH CAROLINA SENATE, and          )
TIMOTHY K. MOORE, in his            )
official capacity as SPEAKER        )
OF THE NORTH CAROLINA HOUSE         )
OF REPRESENTATIVES,                 )
                                    )
      Defendant-Intervenors.        )


                                 ORDER

    This matter comes before the court on Defendants’ Motion to

Extend Time for State Defendants to Answer or Otherwise Respond

to the Second Amended Complaint, (Doc. 62). Having reviewed the

motion, with Plaintiffs’ consent, and for good cause shown,

    IT IS THEREFORE ORDERED that Defendants’ motion for

extension, (Doc. 62), is GRANTED and that State Defendants shall




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have up to and including July 16, 2020, within which to answer

or otherwise respond to the Second Amended Complaint.

    This the 2nd day of July, 2020.




                                 __________________________________
                                    United States District Judge




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